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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *       CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                 Defendant.                       *
                                                  *
              GOVERNMENT’S NOTICE OF SUPERSEDING INDICTMENT

       Today, a federal grand jury in the District of Columbia returned a superseding indictment,

ECF No. 226, charging the defendant with the same criminal offenses that were charged in the

original indictment. The superseding indictment, which was presented to a new grand jury that

had not previously heard evidence in this case, reflects the Government’s efforts to respect and

implement the Supreme Court’s holdings and remand instructions in Trump v. United States,

144 S. Ct. 2312 (2024). The Government does not oppose waiver of the defendant’s appearance

for arraignment on the superseding indictment.        See Fed. R. Crim. P. 10(b).     As this Court

directed, ECF No. 197, the Government will confer with the defense and make a joint proposal, to

the extent possible, regarding pretrial litigation in the status report due Friday.

                                                       Respectfully submitted,

                                                       JACK SMITH
                                                       Special Counsel

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